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RENATA sEIFERT, ET AL., '# -)1 ~~J, ;,¢;.;;.`,¢WS

Plaintiffs,
VS.
LASIK VISION INSTITUTE,

Defendant.

NO. 04-2336-MaP

RENATA SEIFERT, ET AL. ,

Plaintiffs,
VS.

MUSA HOLDINGS, INC. , ET AL. ,

Defendants.

 

ORDER GRANTING JOINT MOTION 'I‘O AMEND SCHEDULE

 

Before the court is the June lO, 2005, joint motion of the
parties to amend the schedule in this matter. For good cause

shown, the court grants the motion and amends the schedule as

follows:

l. The deadline for completing discovery related to the
issue of class certification and whether the Rule 23
requirements are met is July lO, 2005.

2. Defendants' deadline for responding to outstanding
Written discovery is July 10, 2005.

3. Plaintiffs’ deadline for filing a motion for class

certification is August lO, 2005.

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4. Defendants' deadline for responding to a motion for
class certification is September lO, 2005.
Absent good cause, the amended schedule set by this order
will not be modified or extended.

So ORDERED this l{"J/L`day of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:04-CV-02336 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

EssEE

 

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Honorable Samuel Mays
US DISTRICT COURT

